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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
CELIA CASTELAZ; BRITTANIE NALLEY;
NORTHA JOHNSON; and LORI CARTER,
individually and on behalf of all others similarly
situated,
                      Plaintiffs,

       v.                                            Case No. 1:22-cv-05713
THE ESTÉE LAUDER COMPANIES INC.;                     Hon. Lindsay C. Jenkins
BOBBI BROWN PROFESSIONAL
COSMETICS, INC.; ESTÉE LAUDER INC.;
SMASHBOX BEAUTY COSMETICS, INC.;
TOO FACED COSMETICS, LLC; and
PERFECT CORP.

                               Defendants.


             DEFENDANT PERFECT CORP.’S REPLY IN SUPPORT
            OF ITS MOTION TO DISMISS FOR LACK OF PERSONAL
    JURISDICTION OR, ALTERNATIVELY, FOR FAILURE TO STATE A CLAIM
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       Plaintiffs’ Opposition to Perfect Corp.’s (“Perfect”) Motion to Dismiss (“Motion”)

ignores the numerous authorities raised by Perfect in its Motion and by the Court establishing

there is no personal jurisdiction where, as here, an application is merely available and can be

downloaded through certain websites that Illinois residents may access. The authorities that

Plaintiffs rely on are inapposite and serve only to underscore that Plaintiffs cannot establish a

prima facie showing of personal jurisdiction under the facts alleged in Plaintiffs’ Corrected First

Amended Complaint (“CFAC”).

       Plaintiffs’ assertion to have stated a claim fares no better. According to Plaintiffs’ own

allegations, no biometric data leaves the user’s own device. Plaintiffs’ claim that BIPA does not

require data to ever leave the user is flatly contrary to the statute and applicable case law. In

addition, Plaintiffs fail to provide any support for their claim that BIPA applies to completely

anonymous “scans of face geometry,” without any way to tie such scans to any individual. As

Your Honor has recently confirmed, “the relevant inquiry is whether the data that is alleged to

have been collected was itself capable of identifying Plaintiffs.” Robinson v. Lake Ventures LLC,

No. 1:22-cv-6451, 2023 WL 5720873, at *8 (Sept. 5, 2023). Finally, Plaintiffs failed in their

Opposition to identify any allegation from the CFAC to support its conclusory statement that

Perfect “recklessly or intentionally” violated BIPA.

                                           ARGUMENT

I.     The Court Does Not Have Personal Jurisdiction Over Perfect

       A.      Plaintiffs Fail to Make a Prima Facie Showing that the Court has Personal
               Jurisdiction Over Perfect

               1.      Plaintiffs ignored Perfect’s authority demonstrating lack of personal
                       jurisdiction.

       Plaintiffs wholly ignore the key authority that Perfect put forward in its Motion, which

conclusively demonstrates that the Court does not have personal jurisdiction over Perfect. In
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support of its argument, Perfect cited to, inter alia, six recent decisions from this district and

other federal districts in Illinois dismissing alleged BIPA violations because the courts in those

cases lacked personal jurisdiction over the defendants. (See Mot. at 9-10.) 1 Perfect highlighted,

for example, the decision in Gutierrez v. Wemagine.AI LLP, where the court concluded personal

jurisdiction was lacking over defendant—the owner of a facial recognition application that was

downloaded onto Illinois users’ devices—because the fact Illinois users downloaded the

application to their devices “does not, on its own, create a basis for personal jurisdiction over

Wemagine.” (See Mot. at 9.) At the September 13, 2023 hearing, the Court also noted the

importance of Gutierrez and Redd v. Amazon Web Servs., Inc. (See Tr. of 9/13/23 Hrg (attached

hereto as Exhibit 1) at p.10). Despite the importance of these cases in Perfect’s Motion and to

the Court, Plaintiffs ignored them.

                  2.       Plaintiffs’ argument is unsupported and cannot establish a prima facie
                           showing of personal jurisdiction.

         Plaintiffs mischaracterize Perfect’s argument. Perfect does not assert, as Plaintiffs

suggest, that it could only be subject to personal jurisdiction if its actions were directed “solely”

at Illinois. (See Opp. at 5.) Rather, Perfect has demonstrated that there is no personal jurisdiction

over Perfect because Plaintiffs alone—and not also Perfect—have contacts with Illinois. (Mot. at

5-10.) The Supreme Court and Seventh Circuit have made clear that personal jurisdiction does

not attach to a defendant under such circumstances. See Walden v. Fiore, 571 U.S. 277, 291

(2014) (“[I]t is the defendant, not the plaintiff or third parties, who must create contacts with the




1
  The decisions Perfect cited are: Redd v. Amazon Web Servs., Inc., No. 22 C 6779, 2023 WL 3505264 (N.D. Ill.
May 17, 2023); Gutierrez v. Wemagine.AI LLP, No. 21 C 5702, 2022 WL 6129268 (N.D. Ill. Oct. 7, 2022)
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forum State.”); In re Sheehan, 48 F.4th 513, 523 (7th Cir. 2022) (same), cert. denied sub nom.

Sheehan v. Breccia Unlimited Co., 143 S. Ct. 1750, 215 L. Ed. 2d 650 (2023). Here, because

Plaintiffs are the only link between Perfect and Illinois, this Court does not have personal

jurisdiction over Perfect. See Walden, 571 U.S. 277 at 285 (“[T]he plaintiff cannot be the only

link between the defendant and the forum.”).

       Plaintiffs seek to avoid the plain fact they are the only link between Perfect and Illinois

by suggesting Perfect took an affirmative step into Illinois by designing the VTOs to “reach into

Illinois” and “place Perfect’s code into Illinois consumers’ devices to capture their biometrics.”

(Opp. at 6.) Plaintiffs’ own allegations and the unchallenged Chen Declaration, however, belie

this suggestion. As alleged in the CFAC, it was the Plaintiffs who (i) visited the Estée Lauder

Brand Websites, (ii) selected the “Try It On” (or similarly phrased) prompt, (iii) caused the VTO

to be downloaded to the browser on their individual devices, and (iv) chose to use either the

“Live Camera” feature or a photo whereby the VTO, which was downloaded to the browser on

their devices, “scans the user’s face geometry from the live video feed or uploaded image of the

user’s face.” (See CFAC at ¶¶ 31, 94-96.) This is consistent with the Chen Declaration, attached

to Defendants’ Motion. (See Chen Decl. (Dkt. 44), at ¶ 15.) Any alleged connection to Illinois

was occasioned by Plaintiffs’ own interaction with the VTO, not—as is required—Perfect’s

specific actions within this jurisdiction. See Gutierrez II, 2022 WL 6129268 at *2 (“Like an

interactive website, any alleged harm here was occasioned by Plaintiff Ross’s own interaction

with Voila—downloading and accessing the App and then uploading his photo—rather than the

Defendant’s specific actions in this jurisdiction.”). That the VTO is downloaded onto an Illinois

user’s device when the user visits an Estee Lauder Brand Website and clicks to use the VTO

simply does not establish a connection between Illinois and the defendant sufficient to confer


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personal jurisdiction. See Gutierrez I, 2022 WL 252704 at *2 (no personal jurisdiction over

application-owner defendant where defendant’s only contact with Illinois was that plaintiff and

other members of the putative class downloaded its application and used it). 2

         Tellingly, Plaintiffs do not cite to any authority that supports the proposition that a court

has personal jurisdiction over a defendant simply because a defendant’s application can be

downloaded onto a plaintiff’s device while in Illinois. Rather, Plaintiffs’ authority largely stands

for the unremarkable—and inapplicable—proposition that courts may, in certain circumstances,

exercise personal jurisdiction over a defendant who ships physical items to individuals in

Illinois. 3 Indeed, and also ignored by Plaintiffs, several of the cases Perfect relies on its Motion

explicitly distinguish Plaintiffs’ authorities on these grounds. See Gutierrez I, 2022 WL 252704

at *3 (“Unlike the defendant[] in . . . Curry, there is no evidence that Wemagine purposefully

directed any of its conduct toward Illinois, did any Illinois-specific shipping, marketing, or

advertising, or sought out the Illinois market in any way.”); id. at *2, n.2 (distinguishing Norberg

because defendant there had shipped hard copy photographs and other products to Illinois



2
  See also Gutierrez II, 2022 WL 6129268 (no personal jurisdiction where amended complaint included a plaintiff
who downloaded defendant’s application in Illinois and paid $30.00 for an annual subscription, and further alleged
that defendant derived substantial revenue from nearly 5,000 Illinois-based application users due to subscription fees
and its display of third-party advertising).
3
  See NBA Properties, Inc. v. HANWJH, 46 F.4th 614, 624 (7th Cir. 2022) (personal jurisdiction where defendant
established online store and intentionally shipped product to customers in Illinois), cert. denied, 143 S. Ct. 577, 214
L. Ed. 2d 341 (2023); Curry v. Revolution Lab’ys, LLC, 949 F.3d 385, 399 (7th Cir. 2020) (personal jurisdiction
where online purchasers selected Illinois shipping address, received a confirmation email confirming their Illinois
address, and received products in the mail); uBID, Inc. v. GoDaddy Grp., Inc., 623 F.3d 421, 427-28 (7th Cir. 2010)
(personal jurisdiction where defendant had placed physical ads in particular Illinois venues and had “hundreds of
thousands” of Illinois customers who “sent many millions of dollars to the company each year”); Illinois v. Hemi
Grp. LLC, 622 F.3d 754, 758 (7th Cir. 2010) (personal jurisdiction where defendant sold hundreds of packs of
cigarettes to Illinois resident); Trio v. Turing Video, Inc., No. 1:21-CV-04409, 2022 WL 4466050, at *4-5 (N.D. Ill.
Sept. 26, 2022) (personal jurisdiction where defendant shipped its product to Illinois addresses); Greene v. Karpeles,
No. 14 C 1437, 2019 WL 1125796, at *7 (N.D. Ill. Mar. 12, 2019) (personal jurisdiction where defendant (i)
operated a currency exchange that generated thousands of Illinois accounts and received Illinois customer’s assets,
and (ii) directed agents to directly communicate with and make misrepresentations to Illinois customers); Norberg v.
Shutterfly, Inc., 152 F. Supp. 3d 1105, 1105 (N.D. Ill. 2015) (jurisdiction where defendants offered photo printing
services and shipped hard copy photographs and other products to Illinois customers).
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customers); Gutierrez II, 2022 WL 6129268 at *3 (holding that Trio was “inapposite” because it

involved the “the sale and shipping of physical products to Illinois customers” which was not at

issue in Gutierrez); Stein, 526 F. Supp. 3d at 345 (distinguishing Hemi because “the defendant in

Hemi made an affirmative choice to allow sales in Illinois by selling 300 packs of cigarettes, a

heavily regulated product, to one Illinois resident . . . .”).

                3.      Perfect’s privacy policy and terms of service do not confer
                        jurisdiction.

        Plaintiffs also argue that the Court has personal jurisdiction over Perfect because Perfect

“sought the protection of Illinois law in connection with licensing and running the VTOs.” (Opp.

at 7.) Plaintiffs cite Perfect’s online privacy policy and terms of service, which they allege (i)

state that Perfect may collect information about user locations, and (ii) reference BIPA and

potential collection of biometric data. (Id. at 7-8.) Plaintiffs assert that “Perfect knew, and

expected, it could be sued in this forum.” (Id.)

        Plaintiffs’ argument misunderstands the law. That a defendant is aware that its

technology may be—or even is—used in a jurisdiction does not confer personal jurisdiction over

the defendant. The court in Salkauskaite v. Sephora USA, Inc., for example, found there was no

personal jurisdiction over “ModiFace”—a company which owned technology that allegedly

captured customers’ facial geometry—even though Modiface knew that its technology was being

used in Illinois. See Salkauskaite, 2020 WL 2796122 at *5 (stating that merely because the

“technology was used in Illinois does not establish minimum contacts”).

        Relatedly, multiple courts have found that a defendant’s explicit reference to a

jurisdiction’s privacy laws on its website does not confer personal jurisdiction. See, e.g.,

Oceanside Health Prod. LLC v. Instock Goodies Inc., No. SACV2300266CJCDFMX, 2023 WL

3781649, at *4 (C.D. Cal. May 2, 2023) (rejecting plaintiff’s argument that defendant’s inclusion

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of California privacy laws on its website established personal jurisdiction) (citing Voodoo SAS v.

SayGames LLC, 2020 WL 3791657, at *5 (N.D. Cal. July 7, 2020) (finding that inclusion in

privacy policy of section addressing the CCPA “showed that SayGames knew Jelly Shift might

be purchased by California residents,” but “did not indicate that SayGames specifically aimed

Jelly Shift at California residents.”) (cleaned up)); see also Will Co. v. Does 1-20, No. 3:20-CV-

5666-DGE, 2022 WL 18878042 (W.D. Wash. Dec. 19, 2022) (“References to United States’

laws in JuicyAds’ terms of service agreement is not sufficient to show Defendants’ intentional

actions were expressly aimed at this forum.”). Thus, Perfect’s online policies do not establish

personal jurisdiction here.

       B.      Jurisdictional Discovery is Unnecessary and Not Warranted

       Plaintiffs ask this Court to allow them to conduct jurisdictional discovery, but Plaintiffs

cannot articulate any discovery they believe would be helpful to the Court. Plaintiffs offer two

half-hearted arguments in support of their request for jurisdictional discovery.

       First, Plaintiffs assert that [j]urisdictional discovery may be allowed where few of the

relevant jurisdictional facts are known yet.” (Opp. at 10.) But the relevant jurisdictional facts are

known, and they do not support jurisdiction. Tellingly, Plaintiffs do not identify any areas of

discovery that would assist the Court in determining whether it has jurisdiction over Perfect. See

Hill v. AMB Sports & Ent., LLC, No. 22-CV-2961, 2023 WL 2058066, at *7 (N.D. Ill. Feb. 16,

2023) (denying motion for jurisdictional discovery and noting that jurisdictional discovery

should not amount to a fishing expedition). Plaintiffs’ failure is all the more notable because this

Court asked Plaintiffs to “specifically identify” particular areas where jurisdictional discovery

would be helpful to the Court. (See Ex. 1 at 10-11.) Plaintiffs could not do so.

       Second, Plaintiffs state that “[j]urisdictional discovery is appropriate given the

contradictions between the allegations in the FAC and the Chen Declaration.” (Opp. at 10.) But
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Plaintiffs do not identify even a single contradiction between their allegations and the Chen

Declaration. See Rawlins v. Select Specialty Hosp. of Nw. Indiana, Inc., No. 13-cv-7557, 2014

WL 1647182, at *6 (N.D. Ill. Apr. 23, 2014) (no jurisdictional discovery allowed where plaintiff

failed to “meaningfully contradict[] [defendant’s] affidavit”). There is no “contradiction” that

could be the subject of discovery. Plaintiffs’ request for jurisdictional discovery must be denied.

II.      Plaintiffs Fail to State a Claim Against Perfect

         A.       Plaintiffs’ Acknowledgment That Their Data Never Leaves Their Devices is
                  Fatal to Their BIPA Claims

         Plaintiffs acknowledge they do not allege that biometric data ever leaves the user’s own

device. 4 They instead argue it does not matter “because BIPA contains no such requirement.”

(Opp. at 11.) Plaintiffs are wrong. This requirement is inherent in the statute’s framework.

Section 15(a) “by its express terms, applies only to a ‘private entity in possession of biometric

identifiers or biometric information.’” Barnett v. Apple Inc., No. 1-22-0187, 2022 IL App (1st)

220187, ¶ 34 (Ill. App. 1st Dist., Dec. 23, 2022) (emphasis in original and quoting 740 ILCS

14/15(a)). And Section 15(b) places restrictions on when and how a private entity may “collect,

capture, purchase, receive through trade, or otherwise obtain a person’s or a customer's

biometric identifier or biometric information.” 740 ILCS 14/15(b) (emphasis added). Plaintiffs’

claim that data can be “possessed,” “collected,” “captured” or “obtained” by Perfect despite the

data never leaving the user’s device or being sent from the user to anywhere, much less sent to

Perfect, is contrary to BIPA’s plain language.




4
  Contrary to Plaintiffs’ suggestion, Perfect does not ask the Court to “require Plaintiffs to prove a lengthy and
technical explanation of how the various VTOs work and plead in granular detail how Perfect and ELC capture,
collect or possess biometrics.” (Opp. at 10-11.) Rather, Perfect asserts that because Plaintiffs acknowledge they do
not allege that data ever leaves the user’s device, or that Perfect is capable of accessing the scans on the user’s
device, Plaintiffs did not adequately plead that Perfect ever captured, collected, used, possessed or otherwise
obtained Plaintiffs’ biometric data. (See Mot. at 11-13.)
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       The Illinois Appellate Court rejected the same argument Plaintiffs advance here. In

Barnett v. Apple Inc., the plaintiffs alleged that Apple violates BIPA because the “Apple

software” collected, captured and possessed plaintiffs’ face scans. 2022 IL App (1st) 220187 at ¶

43. However, the plaintiffs alleged that the face scans never left their individual devices and

were never sent to Apple or any third party. Id. at ¶ 44. The court affirmed dismissal of

plaintiffs’ Sections 15(a) and 15(b) claims, noting that plaintiffs improperly “equate[] the

product with the company.” Id. at ¶ 43 (“Plaintiffs argue that Apple ‘possesses’ their information

because Apple software collects and analyzes their information.”).

       Here, just as in Barnett, Plaintiffs mistakenly equate the VTO application with the

company, Perfect, for purposes of BIPA. Specifically, Plaintiffs allege “[t]he VTO then collects

biometric data from the photo to place the selected makeup products on the user’s face.” CFAC,

at ¶ 11 (emphasis added). Plaintiffs confirm this in their Opposition, arguing the VTO “collects”

or “captures” users’ biometric data “because it is this very capture and collection that enables the

tools to display the virtual product on the user’s image.” (Opp. at 11.) In other words, it is the VTO

application itself that is “collecting” or “capturing.” But, as alleged, the VTO is downloaded to the

browser on the user’s own device. The VTO is not Perfect—it is an application provided by

Perfect that is accessed and downloaded through the Estee Lauder Brand Websites. Just as the

Illinois Appellate Court dismissed BIPA claims against Apple, this Court should dismiss

Plaintiffs’ claims because they allege the VTO located on a user’s device, not Perfect, collects or

captures the purported biometric data and the data never leaves the user’s device.

       The case law cited by Plaintiffs is similarly unavailing. Kukovec v. Estée Lauder

Companies, Inc., 2022 WL 16744196 (N.D. Ill., 2022) and Powell v. Shiseido Americas Corp.,

21-CV-2295, 2022 WL 19914948, (C.D. Ill. Aug. 22, 2022) do not support Plaintiffs’ position


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because in those cases—unlike here—the plaintiffs did not affirmatively allege that the

application was downloaded to the browser on users’ devices. Likewise, Plaintiffs’ attempts to

distinguish Jacobs v. Hanwha Techwin Am., Inc., 2021 WL 3172967, at *3 (N.D. Ill. July 27,

2021) and Heard v. Becton, Dickinson & Co. (“Heard I”), 440 F. Supp. 3d 960, 968 (N.D. Ill.

Feb. 24, 2020) are off point. 5 Those cases were dismissed not because defendants were third-

party technology providers who played no active role in the collection, but rather because—like

here—the plaintiffs failed to allege defendant ever stored, held or exercised control over the

biometric data. See Heard, 440 F. Supp. 3d at 968; Jacobs, 2021 WL 3172967 at *3.

         B.       Plaintiffs Mischaracterize Applicable Law Which Requires the Data
                  Collected to be Capable of Identifying Plaintiffs

         In its Motion, Perfect demonstrated that Plaintiffs fail to state a claim because they do not

allege that Perfect, or anyone else, is capable of determining their identities from the data

Plaintiffs allege Perfect collects or captures. (Mot. at 13-15.) Plaintiffs’ attempt to avoid

Perfect’s argument fails. First, Plaintiffs mistake the holdings of Daichendt v. CVS Pharmacy,

Inc., No. 22-cv-03318, 2022 WL 17404488, at *5 (N.D. Ill. Dec. 2, 2022) (“Daichendt I”) and

Daichendt v. CVS Pharmacy, Inc., No. 1:22-cv-3318, 2023 WL 3559669, at *1 (N.D. Ill. May 4,

2023) (“Daichendt II”). There is no support for Plaintiffs’ assertion that the Daichendt court

dismissed the plaintiffs’ BIPA claims because “plaintiffs alleged only that the defendant scanned

passport photographs for particular characteristics of the photograph.” (Opp. at 13.) Rather,

Daichendt I explicitly held that the “problem for plaintiff” was that their complaint “[did] not

allege that they provided defendant with any information, such as their names or physical or

email addresses, that could connect the voluntary scans of face geometry with their identities.”



5
  Plaintiffs made no effort to distinguish Kloss v. Acuant, Inc., 462 F. Supp. 3d 873, 877 (N.D. Ill. 2020), also cited
in Perfect’s Motion.
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Daichendt I, 2022 WL 17404488, at *5 (emphases added). 6 Second, Plaintiffs assert in their

Opposition that they did “allege biometrics collected by Perfect and ELC can be used to identify

the VTO user.” (Opp. at 14.) Plaintiffs cite to CFAC ¶ 85: “The biometric data, including the

face geometry scans, captured, collected, used, and/or otherwise obtained by Defendants each

time a visitor to the Brand Websites uses the VTO, is unique to that VTO user and can be used to

identify the VTO user.” That statement, however, is the precise type of “mere conclusory

statement” that the Supreme Court has held cannot support a claim, and must be disregarded. See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

         C.       Plaintiffs Failed to Identify Any Allegations Showing Perfect Acted
                  Recklessly or Intentionally

         Finally, Plaintiffs oppose Perfect’s argument that the Court dismiss Plaintiffs’ request for

the enhanced statutory award of $5,000 per “reckless or intentional” violation of BIPA because

Plaintiffs failed to allege any substantive details in support of that claim. (Opp. at 15.) To do so,

Plaintiffs’ self-servingly reject the holding in Kukovec—a case which (i) was decided after the

authority that Plaintiffs cite and (ii) Plaintiffs themselves attempt to rely on in their brief. Indeed,

Plaintiffs’ conclusory assertion that Perfect committed “reckless or intentional” violations of

BIPA are especially facile here, Plaintiffs have alleged that Perfect agreed to comply with BIPA.

(See CFAC ¶ 81; Opp. at 8.)

                                                CONCLUSION

         Perfect requests that this Court dismiss Plaintiffs’ CFAC as to Perfect with prejudice.




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 See also Daichendt II, 2023 WL 3559669 at *2 (allowing amended complaint to move forward because plaintiffs
alleged that “defendant scanned their face geometry [which] is associated with their personal contact information in
defendant’s photo system.”). Your Honor also recently held that “the relevant inquiry is whether the data that is
alleged to have been collected was itself capable of identifying Plaintiffs.” Robinson, 2023 WL 5720873 at *8.
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Dated: November 3, 2023                 Respectfully submitted,

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